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 4
 5                            UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,        )            NO.       CR-07-0112-RHW-2
 8                                     )
                        Plaintiff,     )            ORDER GRANTING DEFENDANT’S
 9                                     )            MOTION FOR AN ODER
           v.                          )            MODIFYING CONDITIONS OF
10                                     )            RELEASE
      ALLEN LINT,                      )
11                                     )
                        Defendant.     )
12    _________________________________)
13         On March 13, 2008, Defendant, by and through his counsel,
14    Douglas D. Phelps, moved the Court for an order to modify
15    Defendant’s release conditions to allow Defendant to be discharged
16    from his curfew of 7:00 p.m. to 6:00 a.m. on March 29, 2008 and
17    March 30, 2008.    (Ct. Rec. 126).        Defendant requests an order
18    allowing his travel to Outlook, Washington, on March 29, 2008 to
19    March 30, 2008, to participate in and attend his brother’s
20    wedding.   (Ct. Rec. 126).
21         The government, represented by Russell E. Smoot, objected to
22    a permanent modification of the curfew, but deferred to the
23    magistrate judge’s judgment as to whether Defendant’s conditions
24    of pretrial release could be modified to allow Defendant to seek
25    U.S. Probation approval to extend the curfew on any specific date
26    and to allow Defendant to be released from the curfew on March 29,
27    2008 and March 30, 2008, to participate in his brother’s wedding.
28    (Ct. Rec. 128).


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 1         The Court, having reviewed the file, enters the following
 2    Order:
 3         1.   Defendant’s motion to modify release conditions (Ct. Rec.
 4    126) is GRANTED.
 5         2.   Defendant is discharged from the current court curfew and
 6    current pretrial residence on March 29, 2008, and March 30, 2008,
 7    for the purpose of traveling to Outlook, Washington, to
 8    participate in and attend his brother’s wedding.
 9         3.   Following approval in writing by United States Pretrial
10    Services, Defendant’s conditions of pretrial release may be
11    modified to permit the extension of his curfew on any specific
12    date.
13         4.   Except as set forth herein, all remaining provisions of
14    the Court’s July 31, 2007 order setting conditions of release (Ct.
15    Rec. 21), August 23, 2007 order modifying conditions of release
16    (Ct. Rec. 50), and January 10, 2008 order modifying conditions of
17    release (Ct. Rec. 89) shall remain and shall constitute the
18    conditions of Defendant’s release.
19         IT IS SO ORDERED.
20         DATED this    24th   day of March, 2008.
21
                                                    S/James P. Hutton
22                                                    JAMES P. HUTTON
                                              UNITED STATES MAGISTRATE JUDGE
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      ORDER MODIFYING CONDITIONS OF RELEASE - 2
